     Case 1:24-cv-00944-DLC       Document 89       Filed 09/30/24      Page 1 of 45




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------- X
KATIE ELLEN PURIS,                    :
                                      :
                 Plaintiff,           :                   No. 1:24-cv-00944
                                      :
     - against -                      :
                                      :
TIKTOK INC., BYTEDANCE LTD.,          :
BYTEDANCE INC., DOUYIN LIMITED, and   :
LIDONG ZHANG,                         :
                                      :
                 Defendants.
                                      :
------------------------------------- X


  DEFENDANTS TIKTOK INC., BYTEDANCE LTD., AND BYTEDANCE INC.’S
MEMORANDUM OF LAW IN SUPPORT OF THEIR PARTIAL MOTION TO DISMISS



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       Case 1:24-cv-00944-DLC                       Document 89                 Filed 09/30/24               Page 2 of 45




                                               TABLE OF CONTENTS

                                                                                                                                     Page

I.     PRELIMINARY STATEMENT .........................................................................................1

II.    FACTUAL BACKGROUND ..............................................................................................2

       A.        Plaintiff’s Initial Employment with BDI. ............................................................... 2

                 1.         Plaintiff Begins to Perform Poorly for BDI While Supporting
                            GBM. ...........................................................................................................3

       B.        Plaintiff Transitions to the Brand and Creative Organization and
                 Continues to Perform Below Expectations. ............................................................ 6

       C.        The Cannes Incident ............................................................................................... 8

       D.        Plaintiff’s Employment is Terminated. ................................................................... 8

III.   RELEVANT PROCEDURAL HISTORY ..........................................................................8

IV.    ARGUMENT .......................................................................................................................9

       A.        Legal Standards ....................................................................................................... 9

       B.        Plaintiff’s Claims Based on Time-Barred Conduct Must Be Dismissed. ............... 9

                 1.         Plaintiff’s Title VII and ADEA Claims Based on Time-Barred
                            Conduct Must Be Dismissed. .....................................................................10

       C.        Plaintiff’s Gender Discrimination Claims Fail. .................................................... 12

                 1.         Plaintiff’s Gender Discrimination Claim Pursuant to Title VII Must
                            be Dismissed. .............................................................................................13

                 2.         Plaintiff’s Gender Discrimination Claims pursuant to the NYSHRL
                            and the NYCHRL Must Be Dismissed. .....................................................18

       D.        Plaintiff’s Hostile Work Environment Claims Must Be Dismissed. .................... 21

                 1.         Plaintiff’s Hostile Work Environment Claim pursuant to Title VII
                            Must Fail. ...................................................................................................21

                 2.         Plaintiff’s Hostile Work Environment Claims Pursuant to the
                            NYSHRL and NYCHRL Must Fail. ..........................................................22

       E.        Plaintiff’s Title VII Age Discrimination Claim Fails. .......................................... 23



                                                                   i
     Case 1:24-cv-00944-DLC                      Document 89              Filed 09/30/24              Page 3 of 45




     F.        Plaintiff’s Disability Discrimination Claims Under NYCHRL and
               NYSHRL Must Be Dismissed. ............................................................................. 23

     G.        Plaintiff’s Retaliation Claims Fail. ....................................................................... 26

               1.         Plaintiff’s Title VII Retaliation Claims Fail ..............................................26

               2.         Plaintiff’s NYCHRL & NYSHRL Retaliation Claims Fail. ......................28

     H.        Plaintiff’s FMLA Interference Claims Fail........................................................... 30

     I.        Plaintiff’s NYCHRL Interference Claim Fails. .................................................... 33

     J.        The Court Should Decline to Exercise Supplemental Jurisdiction. ...................... 34

V.   CONCLUSION ..................................................................................................................35




                                                              ii
         Case 1:24-cv-00944-DLC                        Document 89               Filed 09/30/24              Page 4 of 45




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Amley v. Sumitomo Mitsui Banking Corp.,
   No. 19-cv-3777, 2021 WL 4429784 (S.D.N.Y. Sept. 27, 2021) .............................................31

Anderson v. City of New York,
   712 F. Supp. 3d 412 (S.D.N.Y. Jan 17, 2024) .........................................................................26

Anderson v. Nat’l Grid, PLC,
   93 F. Supp. 3d 120 (E.D.N.Y. 2015) .......................................................................................34

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................9

Banks v. GM, LLC,
   81 F.4th 242 (2d Cir. 2023) .....................................................................................................28

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................9

Brand v. New Rochelle City Sch. Dist.,
   No. 19-cv-7263, 2022 WL 671077 (S.D.N.Y. May 7, 2022) ..................................................27

Brightman v. Physician Affliate Grp. of N.Y., P.C.,
   No. 20-cv-4290, 2021 WL 1999466 (S.D.N.Y. May 19, 2021) ..............................................29

Brown v. Pension Bds.,
   488 F. Supp. 2d 395 (S.D.N.Y. 2007)......................................................................................32

Burgess v. New Sch. Univ.,
   No. 23-cv-4944, 2024 WL 4149240 (S.D.N.Y. Sept. 11, 2024) .............................................12

Cadet v. All. Nursing Staffing of N.Y., Inc.,
   632 F. Supp. 3d 202 (S.D.N.Y. 2022)................................................................................33, 34

Chinnery v. N.Y. State Office of Children & Family Servs.,
   10-cv-882, 2012 WL 5431004 (S.D.N.Y. Nov. 5, 2012) ........................................................13

Citizens United v. Schneiderman,
    882 F.3d 374 (2d Cir. 2018).....................................................................................................18

Cornetta v. Town of Highlands,
   434 F. Supp. 3d 171 (S.D.N.Y. 2020)......................................................................................25




                                                                    iii
         Case 1:24-cv-00944-DLC                     Document 89              Filed 09/30/24             Page 5 of 45




Crawford v. Bronx Cmty. Coll.,
   No. 22-cv-1062, 2024 WL 3898361 (S.D.N.Y. Aug. 21, 2024)..............................................24

Daeisadeghi v. Equinox Great Neck, Inc.,
   794 Fed. App’x. 61 (2d Cir. 2019)...........................................................................................21

De Figueroa v. N.Y.,
   403 F. Supp. 3d 133 (E.D.N.Y. 2019) .....................................................................................31

Durden v. Metro Transit. Auth.,
   No. 17-cv-5558, 2018 WL 3360757 (S.D.N.Y. July 10, 2018) ...............................................17

Ekpe v. City of N.Y.,
   No. 20-cv-9143, 2024 WL 1621207 (S.D.N.Y. Apr. 12, 2024) ..............................................22

Fahs Constr. Grp., Inc. v. Gray,
   725 F.3d 289 (2d Cir. 2013).....................................................................................................11

Freud v. N.Y.C. Dep't of Educ.,
   No. 22-879, 2023 WL 3103588 (2d Cir. Apr. 27, 2023) .........................................................26

Garcia v. Marc Tetro, Inc.,
   No. 18-cv-10391, 2020 WL 996481 (S.D.N.Y. Mar. 2, 2020) ................................................35

Grant v. N.Y. Times Co.,
   No. 16-cv-03175, 2017 WL 4119279 (S.D.N.Y. Sept. 14, 2017) ...........................................16

Graziadio v. Culinary Inst. Of Am.,
   817 F.3d 415 (2d Cir. 2016).....................................................................................................30

Hahn v. Bank of Am. Inc.,
   No. 12-cv-4151, 2014 WL 1285421 (S.D.N.Y. 2014) ............................................................27

Henry v. Rising Ground,
   No. 153458/2021, 2022 WL 2158368 (N.Y. Sup. Ct. Jun. 10, 2022) ...............................20, 23

Johnson v. Andy Frain Services, Inc.,
   No. 12-cv-4454, 2014 WL 2805113 (E.D.N.Y. June 20, 2014) .............................................19

Kaye v. N.Y.C. Health & Hosps. Corp.,
   No. 18-cv-12137, 2023 WL 2745556 (S.D.N.Y. Mar. 31, 2023) ............................................28

Kemp v. Regeneron Pharms., Inc.,
   No. 23-cv-174, 2024 WL 4111789 (2d Cir. Sept. 9, 2024) .....................................................33

King v. Aramark Servs. Inc.,
   96 F.4th 546 (2d Cir. 2024) ...............................................................................................20, 23




                                                                 iv
         Case 1:24-cv-00944-DLC                      Document 89              Filed 09/30/24            Page 6 of 45




La Grande v. DeCrescente Distrib. Co., Inc.,
   370 F. App’x 206 (2d Cir. 2010) .............................................................................................13

Langella v. Mahopac Cent. Sch. Dist.,
   No. 18-cv-10023, 2020 WL 2836760 (S.D.N.Y. May 31, 2020) ............................................10

LaSalle v. City of N.Y.,
   No. 13-cv-5109, 2015 WL 1442376 (S.D.N.Y. Mar. 30, 2015) ..............................................17

Leizerovici v. HASC Ctr. Inc.,
    No. 17-cv-3605, 2018 WL 1114703 (E.D.N.Y. Feb. 27, 2018) ........................................18, 26

Leroy v. Delta Air Lines,
   No. 21-267-cv, 2022 WL 12144507 (2d Cir. Oct. 27, 2022) (Summary Order) .........20, 23, 28

Lievre v. JRM Constr. Mgmt., LLC,
    No. 17-cv-4439, 2019 WL 4572777 (S.D.N.Y. Sept. 20, 2019) .............................................31

Littlejohn v. City of New York,
    795 F.3d 297 (2d Cir. 2015).....................................................................................................21

Loth v. City of N.Y.,
   No. 20-cv-9345, 2021 WL 4311569 (S.D.N.Y. Sept. 21, 2021) .............................................12

Luzunaris v. Baly Cleaning Servs.,
   No. 23-cv-11137, 2024 WL 3926708 (S.D.N.Y. July 29, 2024) .............................................24

Macias v. Barrier Free Living, Inc.,
  No. 16-cv-1735, 2018 WL 1603566 (S.D.N.Y. Mar. 27, 2018) ..............................................34

Marcus v. Leviton Mfg. Co.,
  No. 15-cv-656, 2016 WL 74415 (E.D.N.Y. Jan. 6, 2016) .......................................................17

May Flower Int'l, Inc. v. Tristar Food Wholesale Co. Inc.,
  No. 21-cv-02891, 2022 WL 4539577 (E.D.N.Y. Sept. 28, 2022) ...........................................18

McCullough v. Xerox Corp.,
  942 F. Supp. 2d 380 (W.D.N.Y. 2013) ....................................................................................29

Meckler v. Cornell Univ.,
   No. 23-cv-773, 2024 WL 3535488 (N.D.N.Y. July 25, 2024) ................................................21

Mihalik v. Credit Agricole Cheuvreux N. Am., Inc.,
   715 F.3d 102 (2d Cir. 2013)...............................................................................................18, 20

Milne v. Navigant Consulting,
   No. 09-cv-8964, 2010 U.S. Dist. LEXIS 115650 (Oct. 27, 2010) ...........................................32




                                                                  v
         Case 1:24-cv-00944-DLC                       Document 89               Filed 09/30/24              Page 7 of 45




Missick v. City of New York,
   707 F. Supp. 2d 336 (E.D.N.Y. March 22, 2010) ....................................................................15

Mitchell v. Planned Parenthood of Greater N.Y., Inc.,
   No. 1:23-cv-01932, 2024 WL 3849192 (S.D.N.Y. Aug. 16, 2024) ........................................19

Mooney v. City of N.Y.,
  No. 18-cv-328, 2018 WL 4356733 (S.D.N.Y. Sept. 12, 2018) ...............................................14

Morales v. New York,
  No. 05-cv-5006, 2010 WL 11623479 (E.D.N.Y. Aug. 30, 2010) ...........................................17

Mwantuali v. Hamilton Coll.,
  No. 6:22-cv-1395, 2024 WL 1219752 (N.D.N.Y. Mar. 20, 2024) ..........................................28

Nally v. New York State,
   No. 10-cv-1186, 2013 WL 2384252 (N.D.N.Y. May 30, 2013) .............................................32

Napolitano v. Teachers Coll.,
   19-cv-09515, 2021 WL 4443143 (S.D.N.Y. Sept. 28, 2021) ..................................................23

Nat’l R.R. Pass. Corp. v. Morgan,
   536 U.S. 101 (2002) .................................................................................................................10

Ndongo v. Bank of China Ltd.,
   No. 22-cv-05896, 2023 WL 2215261 (S.D.N.Y. Feb. 24, 2023) ............................................29

Ndremizara v. Swiss Re Am. Holding Corp.,
   93 F. Supp. 3d 301 (S.D.N.Y. 2015)........................................................................................17

Nguedi v. Fed. Reserve Bank of N.Y.,
   813 F. App’x 616 (2d Cir. 2020) .............................................................................................22

Orisek v. Am. Inst, of Aeronautics and Astronautics,
   938 F. Supp. 185 (S.D.N.Y. 1996) ..........................................................................................15

Palmer v. eCapital Corp.,
   No. 24-cv-15, 2024 WL 3794715 (S.D.N.Y. Aug. 13, 2024)..................................................34

Parlato v. Town of E. Haven,
   No. 22-cv-1094, 2023 WL 5206873 (D. Conn. Aug. 14, 2023) ..............................................29

Pergament v. Fed. Express Corp.,
   No. 2:03-cv-1106, 2007 WL 1016993 (E.D.N.Y. Mar. 30, 2007) ..........................................15

Pitter v. Target Corp.,
    No. 1:20-cv-00183, 2020 WL 8474858 (N.D.N.Y. Sept. 1, 2020)..........................................22




                                                                   vi
         Case 1:24-cv-00944-DLC                     Document 89              Filed 09/30/24             Page 8 of 45




Quinn v. Green Tree Credit Corp.,
   159 F.3d 759 (2d Cir. 1998), abrogated in part on other grounds by Nat'l R.R.
   Passenger Corp. v. Morgan, 536 U.S. 101 (2002) ..................................................................21

Raimondo v. Erie 2-Chautauqua-Cattaraugus BOCES,
   No. 22-cv-721s, 2023 WL 4624749 (W.D.N.Y. July 19, 2023) ..............................................26

Rivas v. N.Y. State Lottery,
   745 F. App’x 192 (2d Cir. 2018) .............................................................................................11

Rivera v. Crowell & Moring L.L.P.,
   No. 14-cv-2774, 2016 WL 796843 (S.D.N.Y. Feb. 18, 2016) ................................................31

Rosas v. Balter Sales Co.,
   No. 12-cv-6557, 2015 WL 12915807 (S.D.N.Y. Mar. 30, 2015) ............................................34

Rossbach v. Montefiore Med. Ctr.,
   No. 19-cv-5758, 2021 WL 930710 (S.D.N.Y. Mar. 11, 2021) ..........................................33, 34

Sank v. City Univ. of New York,
   10-cv-4975, 2011 WL 5120668 (S.D.N.Y. Oct. 28, 2011)......................................................16

Scalercio-Isenberg v. Morgan Stanley Servs. Grp.,
   No. 19-cv-6034, 2019 WL 6916099 (S.D.NY. Dec. 19, 2019) ...............................................28

Shankar v. Accenture LLP,
   No. 21-cv-3045, 2023 WL 2908660 (S.D.N.Y. Feb. 14, 2023) ..................................24, 25, 26

Shkoza v. Nyc Health & Hospitals Corp.,
   No. 20-cv-3646, 2024 WL 1116145 (S.D.N.Y. Mar. 13, 2024) ..............................................20

Slaughter v. Am. Bldg. Maintenance Co. of New York,
   64 F. Supp. 2d 319 (S.D.N.Y. 1999)........................................................................................32

Staten v. City of N.Y.,
    653 F. App’x 78 (2d Cir. 2016) ...............................................................................................11

Styles v. Westchester Cty.,
    No. 18-cv-12021, 2020 WL 1166404 (S.D.N.Y. Mar. 10, 2020) ............................................18

Tepperwien v. Entergy Nuclear,
   663 F.3d 556 (2d Cir. 2011).....................................................................................................27

Tousst v. City of New York,
   No. 19-cv-1239, 2020 WL 3978317 (S.D.N.Y. June 29, 2020) ..............................................12

Tsatsani v. Walmart, Inc.,
   No. 19-cv-9063, 2020 WL 6688939 (S.D.N.Y Oct. 26, 2020) ................................................32



                                                                vii
         Case 1:24-cv-00944-DLC                        Document 89               Filed 09/30/24              Page 9 of 45




Walker v. Triborough Bridge & Tunnel Auth.,
   No. 21-cv-474, 2021 WL 5401483 (S.D.N.Y. Nov. 18, 2021)................................................13

Ward v. Cohen Media Publ’ns LLC,
  No. 22-cv-06431, 2023 WL 5353342 (S.D.N.Y. Aug. 21, 2023)............................................19

Weekes v. Jetblue Airways Corp.,
   No. 21-cv-1965, 2022 WL 4291371 (E.D.N.Y. Sept. 16, 2022) .............................................22

Wellner v. Montefiore Med. Ctr.,
   No. 17-cv-3479, 2019 WL 4081898 (S.D.N.Y. Aug. 29, 2019)..............................................18

Wessinger v. OSI Rest. Partner's LLC,
   No. 5:14-cv-00175, 2014 WL 5168702 (N.D.N.Y. Oct. 14, 2014) .........................................22

Wilson v. New York,
   No. 17-cv-5012, 2021 WL 2987134, at *6 (E.D.N.Y. July 15, 2021), aff'd in
   part, vacated in part, remanded, No. 21-1971-CV, 2022 WL 17587564 (2d
   Cir. Dec. 13, 2022) ..................................................................................................................16

Zuckerman v. GW Acquisition LLC,
   No. 20-cv-8742, 2021 WL 4267815 (S.D.N.Y. Sept. 19, 2021) .............................................25

Statutes

28 U.S.C. § 1367(c)(3) ...................................................................................................................34

42 U.S.C. § 1981, et seq.............................................................................................................2, 23

42 U.S.C. § 2000e-5(e)(1)..............................................................................................................10

Age Discrimination in Employment Act of 1967 .................................................................. passim

Civil Rights Act of 1964 Title VII ......................................................................................... passim

Family and Medical Leave Act .............................................................................................. passim

N.Y. Admin. Code § 8-502(d) .......................................................................................................10

N.Y. Exec. Law § 296 et seq. ..........................................................................................................2

New York City Human Rights Law...........................................................................................1, 28

Other Authorities

29 C.F.R. § 825.302(a)...................................................................................................................30

29 C.F.R. § 825.303(a)-(c) .............................................................................................................32



                                                                   viii
        Case 1:24-cv-00944-DLC                        Document 89               Filed 09/30/24             Page 10 of 45




Fed. R. Civ. P. 12(b)(6)..............................................................................................................9, 34

N.Y.C. Admin. Code § 8-101 et seq. ..................................................................................... passim

N.Y.C. Admin. Code § 8-102 ........................................................................................................24

N.Y.C. Admin. Code § 8-107(1)....................................................................................................22




                                                                    ix
         Case 1:24-cv-00944-DLC              Document 89           Filed 09/30/24         Page 11 of 45




         Defendants TikTok Inc. (“TTI”), ByteDance Ltd. (“BDL”), and ByteDance Inc. (“BDI”)

(collectively, “Defendants”) respectfully submit this Memorandum of Law in Support of their

Partial Motion to Dismiss. As set forth in detail below, Plaintiff Katie Ellen Puris’ (“Plaintiff”)

Second Amended Complaint (“SAC”) fails to state a claim in several key ways, and accordingly,

several of Plaintiff’s claims, including her gender, age, and disability discrimination claims,

retaliation claims, New York City Human Rights Law interference claim, and her Family and

Medical Leave Act interference claim, must be dismissed, with prejudice.1

I.       PRELIMINARY STATEMENT

         Plaintiff purports to bring several causes of action against Defendants TTI, BDI, and

BDL, including claims for discrimination, hostile work environment, retaliation, interference

with protected rights, and interference with Plaintiff’s FMLA rights. The SAC, however, is a

thinly veiled attempt to reframe her documented poor performance as discrimination, when

nothing could be further from the truth.

         The sprawling, 108-page SAC contains pages and pages of information Plaintiff cannot

reasonably claim relate to her allegations, and is, on its face, a bold attempt to litigate Plaintiff’s

employment termination in the court of public opinion, with no basis in fact or law. In fact, much

of the operative complaint contains allegations that have absolutely no bearing on the claims for

which Plaintiff seeks relief. Despite its length, the SAC is bare of sufficient allegations relating

to Plaintiff, her employment and any claims of discrimination, retaliation, or interference with

any legal rights.




     1
      This Court, in its July 31, 2024 Order, made clear that it is “unlikely that the plaintiff will have a further
opportunity to amend.” (ECF No. 60.) Given this is Plaintiff’s third attempt at pleading viable claims, any claims
this Court dismisses must be dismissed with prejudice, as Plaintiff cannot cure her Second Amended Complaint, and
should not be permitted a fourth attempt to do so.



                                                         1
          Case 1:24-cv-00944-DLC            Document 89           Filed 09/30/24         Page 12 of 45




          Accordingly, Defendants TTI, BDI, and BDL move to dismiss Plaintiff’s age and gender

discrimination, retaliation, and hostile work environment claims pursuant to Title VII of the Civil

Rights act of 1964 (“Title VII”),2 the New York State Human Rights Law, N.Y. Exec. Law § 296

et seq. (“NYSHRL”), and the New York City Human Rights Law, N.Y.C. Admin. Code § 8-101

et seq. (“NYCHRL”), her age discrimination claim pursuant to the Age Discrimination in

Employment Act of 1967 (“ADEA”), her disability discrimination claims pursuant to the

NYSHRL and NYCHRL, her NYCHRL interference claim, and her FMLA interference claim.

II.       FACTUAL BACKGROUND

          A.     Plaintiff’s Initial Employment with BDI.

          In or around December 2019, Plaintiff was hired by BDI as the Managing Director and

the U.S. Head of Business Marketing. (SAC ¶ 145.) Plaintiff was never employed by BDL or

TTI, and at all times, Plaintiff was employed by BDI. In this role, Plaintiff “developed and built

the North American Business Marketing organization,” which includes laying out the “mission,

vision, goals and deliverables” for the organization. (Id. ¶ 152.) To effectuate this goal, Plaintiff

alleges that she was given a headcount of approximately 40 employees to help build the North

American Business Marketing team. (Id. ¶ 154.) Plaintiff was also tasked with preparing for the

2020 Consumer Electronic Show (“CES”), a “critical tradeshow,” developing and executing

strategic plans, and managing large projects. (Id. ¶¶ 157-59.)

          In this role, Plaintiff received generally positive reviews and good feedback, as

demonstrated in both of the reviews she received in 2020. (Id. ¶¶ 162, 180-85.) Accordingly, in

early 2020, Plaintiff alleges she was asked to lead the Global Business Marketing (“GBM”)

team. (Id. ¶ 164.) Plaintiff accepted this role and claims to have grown the team to “over 100

      Plaintiff’s SAC improperly brings age discrimination allegations under Title VII. (SAC ¶ 433.) However, Title
      2

VII offers no such protection. 42 U.S.C. § 1981, et seq. (prohibiting discrimination “because of such individual's
race, color, religion, sex, or national origin”).



                                                        2
        Case 1:24-cv-00944-DLC             Document 89          Filed 09/30/24        Page 13 of 45




employees on opposite coasts and another continent.” (Id. ¶¶ 169-71.) In her first review as the

lead for GBM, Plaintiff received ratings of “meeting expectations” and “exceeding

expectations.”3 (Id. ¶¶ 180-85.) However, Plaintiff began to struggle in her new role.

                 1.      Plaintiff Begins to Perform Poorly for BDI While Supporting
                         GBM.

        Despite Plaintiff’s unsupported and conclusory allegations regarding the treatment she

experienced while working at BDI, Plaintiff’s SAC is unsurprisingly silent about specific

allegations regarding any discrimination Plaintiff herself experienced. Instead, the SAC attempts

to re-frame poor performance and decision-making as discrimination.

        For example, Plaintiff claims that in August 2020, “then-President Donald Trump

threatened to shut down TikTok in the United States if BDL did not sell the American arm of

TikTok to an American company.” (Id. ¶ 224.) Plaintiff further claims that this resulted in

economic hardship which led to a hiring slowdown. (Id. ¶ 225.) Despite being aware of these

external pressures, and as the world was in the midst of the COVID-19 pandemic, Plaintiff

requested an “increased budget and headcount in 2021.” (Id. ¶ 226.) Plaintiff claims that her

teams worked together and ultimately prepared a presentation that “broke down key deliverables

for the sub-teams in Ms. Puris’ organization, and was presented to many other groups, including

the strategy team that was to lead the effort around budget and headcount planning.” (Id. ¶ 231)

        Plaintiff claims that this plan was approved in late December of 2020, but that Lidong

Zhang (“Zhang”) elected to “revisit and reverse course.” (Id. ¶ 234.) Somehow, Plaintiff attempts

to tie Zhang’s purported rejection of her poorly thought-out plan to raise costs and hire new staff

in the midst of a global pandemic and immense external pressure as discrimination, and not the

    3
      According to the SAC, “TikTok’s performance rating system includes the following ratings from lowest to
highest: F (not meeting expectations); I (improvement needed); M-, M and M+ (meets expectations); and E-, E and
E+ (exceeds expectations). M- and below are considered “low” ratings, M and M+ are considered “mid” ratings, and
E- and above are considered “high” ratings.” (SAC ¶¶ 181-83.)



                                                       3
      Case 1:24-cv-00944-DLC          Document 89        Filed 09/30/24      Page 14 of 45




result of her poor leadership and decision-making. After Plaintiff’s ill-destined plan was

allegedly rejected, Plaintiff then claims that Corinna Chen (“Chen”) began micromanaging her

team, causing Plaintiff and her team to have to complete “tactical tasks” that Plaintiff appears to

have found “exhausting.” (Id. ¶¶ 235-36.) Despite Plaintiff’s struggles to carry out the duties

inherent to her position, she points to nothing that would support her allegations of “gender

animus.” (Id. ¶ 242.) Instead, the SAC describes some of the issues Plaintiff had in the

workplace, such as expressed concern with how Puris’ team engaged with regional business

marketing groups. (Id. ¶ 241.) Further, aware that her claims are unsupported, Plaintiff speculates

and invents purported discriminatory reasons for normal business functions. In fact, Plaintiff

makes much of apparent requests from Jean Zhao (“Zhao”), a Strategy and Operations Director

for GBM, to solicit feedback on Plaintiff, alleging, with no support, that these surveys were sent

to “cross-functional partners and regional marketing team” members that Plaintiff worked with

to “encourage negative feedback.” (Id. ¶ 239.)

       As her inability to prepare a viable strategic plan in the face of external factors impacting

business operations demonstrated, Plaintiff had begun struggling in her role, and this was also

reflected in her performance reviews. Plaintiff claims that in January 2021, Human Resources

Business Partner, Carl Rivers (“Rivers”), was “actively soliciting negative feedback on Ms.

Puris,” a decision which she claims, without support, is due to her sex. (Id. ¶¶ 246-48.) Plaintiff

provides no explanation or description that supports the theory that Rivers acted in a manner

motivated by discrimination. In fact, Plaintiff does not allege that Rivers made any comments to

suggest he held any animus against women or acted with discriminatory intent in any other way.

       As she is unable to support this assertion, Plaintiff next claims that the feedback she

received was “very gendered,” as she was “accused of being demanding, defensive and a




                                                 4
      Case 1:24-cv-00944-DLC             Document 89     Filed 09/30/24      Page 15 of 45




perfectionist to a fault.” (Id. ¶ 250) For example, on or about February 4, 2021, Plaintiff alleges

that Blake Chandlee (“Chandlee”), her direct supervisor, told her that she “had a tendency to go

from ‘being this ball of energy like the sun’ to ‘like a dark star… the energy just gets sucked out

of the room.’” (Id. ¶ 251.) Despite her subjective feelings on these alleged comments, Plaintiff

does not identify why commentary on her ability to work with her peers and subordinates, as

well as her general demeanor in the workplace, were based in discriminatory animus.

       Instead of taking the legitimate feedback about her performance to heart and adjusting

her performance accordingly, Plaintiff elected to disregard the feedback she received when she

was invited to attend and participate in a bi-monthly meeting held by Zhang in February 2021.

(Id. ¶ 253.) After the presentation, Plaintiff believed Zhang was not happy “because she

celebrated her team’s success and achievements,” which Plaintiff alleges, without support, is

because Zhang “believes that women should always remain humble and express modesty.” (Id. ¶

254.) After this meeting, Chandlee, provided feedback on the meeting by informing her that

these presentations should not focus on the team’s past successes and other displays of self-

aggrandizement. (Id. ¶ 263.) Plaintiff, without any basis, interpreted these legitimate critiques to

be because of her sex. (Id. ¶ 264.)

       By the “second quarter of 2021,” based on her subjective perceptions of her work

experience, Plaintiff claims that it was very evident that the ultimate goal was to force her to end

her employment with BDI. Plaintiff claims that she received a “poor” performance review as a

result, receiving an “M” performance rating in 2020, even though she admits that an “M” means

meeting expectations. (Id. ¶¶ 265-66.)

       Plaintiff further claims that in 2021, her employer began promoting the “996” culture,

which required employees to work from 9 A.M. to 9 P.M., for six days a week. (Id. ¶ 279.)




                                                 5
         Case 1:24-cv-00944-DLC               Document 89          Filed 09/30/24         Page 16 of 45




Plaintiff alleges this culture favored younger male employees who were less likely to have

childcare and other family obligations. (Id. ¶ 280.) Plaintiff alleges that this culture “was more

hostile to female employees.” (Id. ¶ 281.)4

          B.       Plaintiff Transitions to the Brand and Creative Organization and
                   Continues to Perform Below Expectations.

          In or around May 2021, Chandlee and Kate Barney (“Barney”) began to express that they

wanted Plaintiff to transition out of her role as the lead of the GBM team. (Id. ¶ 285.) According

to the SAC, there was “a bit of a ding in confidence” and “lack of trust” in Plaintiff’s

performance. (Id. ¶¶ 287, 290.) Despite what Plaintiff perceived as poor performance reviews,

negative feedback, and plain evidence that Plaintiff was struggling in her role, Plaintiff claims

she did not know why she was being transitioned to a new position. (Id. ¶ 286.) However, after

inquiring about the move, Plaintiff admits that there was a need for a Head of Business

Marketing “with more operational experience.” (Id.)

          In or around May 2021, Plaintiff learned that she was being moved out of the Business

Marketing organization and would begin reporting to Nick Tran (“Tran”), Global Head of

Marketing in her new role as the Head of Global Brand and Creative Organization in or around

June 2021. (Id. ¶¶ 293-97.) In late 2021 or early 2022, after disagreements with leadership over

the trajectory of his department, Tran’s employment was terminated. (Id. ¶¶ 313-30.)

          Following Tran’s termination, Plaintiff began reporting to V Pappas (“Pappas”),5 in V’s

role as the new interim Global Head of Marketing, while also continuing to be the Chief

Operating Officer. (Id. ¶ 335.) In about February 2022, Plaintiff alleges she met with Pappas,



    4
     This is an example of Plaintiff projecting her own personal sexist belief onto Defendants. Her beliefs that men
do not share equal responsibility to raise their children is antiquated.
    5
        V Pappas is referred to as Vanessa Pappas in the SAC.



                                                          6
       Case 1:24-cv-00944-DLC                 Document 89           Filed 09/30/24          Page 17 of 45




who stated there would be changes to TikTok’s overall marketing strategy. (Id. ¶ 339.) However,

these changes proved to be difficult for Plaintiff and her team. (Id. ¶ 341.)

         For example, in early 2022, Plaintiff prepared a slideshow presentation about new

marketing strategies for Pappas’ review. (Id. ¶ 346.) Upon review of the presentation, Pappas

made clear that the presentation was “not up to her standards.” (Id. ¶ 347.) Pappas informed

Plaintiff that she would receive an “I” review in her upcoming evaluation, which Plaintiff claims

“shocked” her. (Id. ¶¶ 348, 352.) Accordingly, given Plaintiff’s previous performance and lack

of improvement, Plaintiff, in April 2022, received a written negative review from Pappas, which

included two “I’s” and two “M’s.” (Id. ¶ 361.)

         Shortly after receiving her performance review, Plaintiff made an internal complaint

about her performance review, alleging that her review was based on “discriminatory animus

towards [Plaintiff’s] age.” (Id. ¶¶ 366-67.) Following these complaints, Plaintiff alleges that

Pappas left her out of meetings. (Id. ¶ 369.) On May 20, 2022, Plaintiff alleges that she was

informed that Human Resources completed their investigation of her age and disability

discrimination complaints and “found no wrongdoing.” (Id. ¶ 375.)6

         In or around May or June 2022, Plaintiff began reporting to Zuber Mohammed

(“Mohammed”), the new interim Global Head of Marketing. (Id. ¶¶ 370-71.) Plaintiff alleges

that while Mohammed was her supervisor, she struggled getting feedback on her performance,

was allegedly told that she can no longer replace employees who left the company, and that

several contractors on her team would be let go. (Id. ¶¶ 375-80.) Plaintiff concludes, without any

factual support, that these requests were because of her gender, age, and health status. (Id. ¶ 383.)




    6
      Notably, Plaintiff failed to raise allegations of sex or gender discrimination in her April 2022 complaint to HR,
despite claims in the SAC that Zhang previously discriminated against her on these bases.



                                                          7
       Case 1:24-cv-00944-DLC           Document 89       Filed 09/30/24      Page 18 of 45




          C.     The Cannes Incident

          TTI, BDL, and BDI incorporate by reference the description of an incident in Cannes as

described in the Memorandum of Law supporting Defendants’ Motion to Compel Arbitration,

filed on September 23, 2024. (ECF No. 82, at p. 4-7.)

          D.     Plaintiff’s Employment is Terminated.

          Finally, after years of performance issues, documented negative feedback, and middling

to poor performance reviews, Plaintiff’s employment with BDI was terminated in September

2022. (SAC ¶ 424.) A few days prior to her termination, knowing that the writing was on the

wall, Puris reiterated previous complaints regarding age and sexual harassment claims that were

already fully investigated. (Id. ¶ 423.) In addition, for the first time, she vaguely complained of

gender discrimination. (Id.)

III.      RELEVANT PROCEDURAL HISTORY

          Plaintiff filed a Charge of Discrimination against TTI and BDI with the Equal

Employment Opportunity Commission (“EEOC”) on May 23, 2023 (the “Charge”). (Id. ¶ 61.)

Plaintiff filed the Original Complaint on February 8, 2024, against TTI and BDL only. (ECF No.

1.) Plaintiff then filed the First Amended Complaint (“FAC”) on May 6, 2024, adding BDI,

Douyin Ltd. (“Douyin”) and Zhang as Defendants. (ECF No. 21.) On July 19, 2024, Defendants

TTI, BDL, and BDI filed a motion to compel arbitration to enforce the valid arbitration

agreements Plaintiff signed during the course of her employment. (ECF Nos. 50-51.) On July 31,

2024, Douyin and Zhang filed a motion to dismiss the FAC for lack of proper service. (ECF Nos.

54-59.)

          On July 31, 2024, this Court sua sponte ordered “that the plaintiff shall file any amended

complaint by August 21, 2024,” and made it clear that “[i]t is unlikely that the plaintiff will have




                                                  8
      Case 1:24-cv-00944-DLC           Document 89         Filed 09/30/24      Page 19 of 45




a further opportunity to amend.” (ECF No. 60.) On August 21, 2024, Plaintiff filed the SAC.

(ECF No. 65.)

       Given the filing of the SAC, the pending motions to dismiss and compel were dismissed

as moot and without prejudice. (ECF No. 66.) The Court further ordered Defendants to respond

to the SAC by September 23, 2024. (Id.) On September 9, 2024, Douyin and Zhang filed their

motion to dismiss the SAC. (ECF Nos. 69-74). On September 23, 2024, Defendants BDI, BDL,

and TTI filed a Motion to Compel Arbitration. (ECF Nos. 79-82.) Defendants now move to

dismiss most of the claims contained in the SAC.

IV.    ARGUMENT

       A.       Legal Standards

       To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a pleading must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 570 (2007)). Satisfying this standard “requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action . . .” Twombly, 550 U.S. at 555 (internal

citations omitted). “Factual allegations must be enough to raise a right to relief above the

speculative level . . . .” Id. (internal citations omitted). “Threadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678

(citing Twombly, 550 U.S. at 555). Here, like the initial Complaint, the SAC fails to “possess

enough heft” to state a viable claim. Twombly at 557-58 (internal citations omitted).

       Here, the SAC contains several claims that cannot survive this Motion to Dismiss.

       B.       Plaintiff’s Claims Based on Time-Barred Conduct Must Be Dismissed.

       First, despite Plaintiff’s attempt to bring allegations based on conduct dating back to at

least 2020, if not earlier, much of this conduct is time-barred and cannot be the basis for suit.


                                                  9
        Case 1:24-cv-00944-DLC                Document 89           Filed 09/30/24         Page 20 of 45




Under Title VII, an aggrieved person must file an administrative charge within 300 days of the

alleged discriminatory act. See 42 U.S.C. § 2000e-5(e)(1); see also Nat’l R.R. Pass. Corp. v.

Morgan, 536 U.S. 101, 108-09 (2002). Claims pursuant to the ADEA must be filed in the same

time frame. Langella v. Mahopac Cent. Sch. Dist., No. 18-cv-10023, 2020 WL 2836760, at *4-5

(S.D.N.Y. May 31, 2020). NYSHRL and NYCHRL claims must be filed within three years. See

N.Y. Admin. Code § 8-502(d).

         Here, Plaintiff filed the Charge on May 23, 2023, and filed the initial Complaint on

February 8, 2024. Accordingly, Plaintiff’s Title VII and ADEA claims are time-barred to the

extent they concern conduct prior to July 27, 2022 (i.e., 300 days before May 23, 2023).

         Plaintiff’s NYSHRL and NYCHRL claims are time-barred to the extent they concern

conduct arising before May 23, 2020.

                  1.       Plaintiff’s Title VII and ADEA Claims Based on Time-Barred
                           Conduct Must Be Dismissed.

         Any gender discrimination, hostile work environment, or retaliation claims pursuant to

Title VII, and any age discrimination claims pursuant to the ADEA, must be dismissed as time-

barred to the extent they are based on conduct prior to July 27, 2022.

         Plaintiff was hired as the Managing Director and the U.S. Head of Business Marketing in

or around December 2019, and then was asked to lead the Global Business Marketing role in

early 2020. (SAC ¶¶ 143, 164.) She remained in this role until in or around June 2021. (Id. ¶

293.) Any conduct Plaintiff claims constitutes discrimination pursuant to any federal statute,

from her time in either of these roles, is time-barred because it occurred prior to July 27, 2022.7



    7
      For example, Plaintiff alleges that Rivers “actively solicit[ed] negative feedback on Ms. Puris,” because of her
sex. (SAC ¶¶ 246-48.) Plaintiff then asserts that her feedback in early 2021 was “very gendered” because she was
“accused of being demanding, defensive, and a perfectionist.” (Id.) Plaintiff then alleges that Zhang’s criticism of
her February 2021 presentation was because of her sex. (Id. ¶ 264.)



                                                         10
      Case 1:24-cv-00944-DLC           Document 89        Filed 09/30/24      Page 21 of 45




       Then, in June 2021, Plaintiff began reporting to the Global Head of Marketing, and

makes several unfounded allegations about discrimination she experienced while in this role. For

example, in or around about February 2022, Plaintiff, who was reporting to Pappas at the time,

alleges that Pappas’ negative performance review and subsequent feedback were discriminatory

because of her age, and that she filed a complaint with Human Resources regarding the same.

(See e.g., id. ¶ 359.) Even assuming arguendo, that Plaintiff’s allegations have merit, which they

do not, her Title VII and ADEA claims simply cannot be based on time-barred conduct occurring

while Plaintiff was the Managing Director and the U.S. Head of Business Marketing, leading the

GBM team, or any conduct at all prior to July 27, 2022.

       Further, despite its length, the SAC pleads only a handful of alleged discriminatory

actions that are discrete in nature and accordingly, the continuing violation doctrine is not

implicated. “Under the continuing violation doctrine, if a plaintiff has experienced a continuous

practice and policy of discrimination . . . the commencement of the statute of limitations period

may be delayed until the last discriminatory act in furtherance of it.” Staten v. City of N.Y., 653

F. App’x 78, 80 (2d Cir. 2016) (internal citations omitted). If this doctrine applies, and “if timely

acts are sufficiently related to acts preceding the limitations period, [the court] considers the

entire scope of the claim, including behavior outside the limitations period.” Id. “To trigger such

a delay, the plaintiff must allege both the existence of an ongoing policy of discrimination and

some non-time-barred acts taken in furtherance of that policy.” Fahs Constr. Grp., Inc. v. Gray,

725 F.3d 289, 292 (2d Cir. 2013) (internal quotation marks omitted). “Importantly, the

continuing violation doctrine does not apply to discrete unlawful acts, even if the discrete acts

were undertaken pursuant to a general policy that results in other discrete acts occurring within




                                                 11
      Case 1:24-cv-00944-DLC           Document 89       Filed 09/30/24       Page 22 of 45




the limitations period.” Rivas v. N.Y. State Lottery, 745 F. App’x 192, 193 (2d Cir. 2018)

(internal quotations omitted).

       As Plaintiff has failed to allege that she experienced a continuous policy of

discrimination throughout her employment, she cannot invoke the continuing violation doctrine

here to permit conduct that is time-barred to support gender discrimination, hostile work

environment, and retaliation claims pursuant to Title VII or age discrimination claims pursuant to

the ADEA. See Loth v. City of N.Y., No. 20-cv-9345, 2021 WL 4311569, at *5 (S.D.N.Y. Sept.

21, 2021) (declining to apply the continuing violation doctrine and noting that “[the p]laintiff has

only alleged discrete acts of discrimination and has failed to identify any continuing

discriminatory policy of practice.”). Further, given Plaintiff makes no allegations of misconduct

between July 27, 2022 and the termination of her employment in September 2022, there are no

timely acts relating back to any alleged untimely acts of discrimination, and there is nothing to

revive her time-barred claims. Tousst v. City of New York, No. 19-cv-1239, 2020 WL 3978317,

at *3 (S.D.N.Y. June 29, 2020) (dismissing Title VII discrimination claims that were filed

outside of the 300 days statute of limitations); Burgess v. New Sch. Univ., No. 23-cv-4944, 2024

WL 4149240, at *9-10 (S.D.N.Y. Sept. 11, 2024) (discrete incidents “cannot be actionable

simply by characterizing each of them as part of a continuing violation.”).

       C.      Plaintiff’s Gender Discrimination Claims Fail.

       Plaintiff’s causes of action for discrimination on the basis of gender fail because Plaintiff

cannot point to a single fact or allegation indicating that Plaintiff’s membership in a protected

category played any part in any adverse employment action she claims to have suffered.




                                                12
      Case 1:24-cv-00944-DLC            Document 89      Filed 09/30/24     Page 23 of 45




               1.      Plaintiff’s Gender Discrimination Claim Pursuant to Title VII Must
                       be Dismissed.

       “To prevail on a Title VII disparate treatment claim, a plaintiff must ultimately prove that

‘(1) [s]he is a member of a protected class; (2) [s]he is competent to perform the job or is

performing his duties satisfactorily; (3) [s]he suffered an adverse employment decision or action;

and (4) the decision or action occurred under circumstances giving rise to an inference of

discrimination based on his membership in the protected class.’” La Grande v. DeCrescente

Distrib. Co., Inc., 370 F. App’x 206, 211 (2d Cir. 2010) (quoting Dawson v. Bumble & Bumble,

398 F.3d 211, 216 (2d Cir. 2005)). “At the pleading stage, a plaintiff alleging discrimination in

violation of Title VII must provide facts that give the defendant ‘fair notice of what the

plaintiff’s claim is and the grounds upon which it rests.’” Chinnery v. N.Y. State Office of

Children & Family Servs., 10-cv-882, 2012 WL 5431004, at *2 (S.D.N.Y. Nov. 5, 2012) (citing

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512 (2002)).

       Plaintiff fails to demonstrate a prima facie case of gender discrimination for any non-

time-barred claims pursuant to Title VII because she can point to no evidence that her gender

was a motivating factor in the way she was treated and in the termination of her employment.

Walker v. Triborough Bridge & Tunnel Auth., No. 21-cv-474, 2021 WL 5401483, at *3

(S.D.N.Y. Nov. 18, 2021). Given the documented performance deficiencies and poor reviews,

Plaintiff cannot plausibly allege that her performance was adequate. Consequently, Plaintiff fails

to meet the second prong of a prima facie Title VII disparate treatment claim, requiring that she

is performing her job satisfactorily.

       Plaintiff was not performing well in her position, even reading the SAC in the light most

favorable to her. For example, Plaintiff alleges in the SAC that external political pressures

caused a significant threat and impact to TTI operations, including a “hiring slowdown.” (SAC ¶



                                               13
      Case 1:24-cv-00944-DLC           Document 89         Filed 09/30/24      Page 24 of 45




224.) Despite being on notice of these underlying business concerns, Plaintiff, a member of

senior leadership, elected to ignore these business pressures, refused to reconsider her goals in

light of external circumstances, and instead of adjusting her plans, “remained optimistic” that she

would receive an increased budget and headcount despite these pressures. (Id. ¶ 226.) Plaintiff

claims that her unrealistic decision, to operate as if nothing had changed in the face of

circumstances that may impact business operations, including the COVID-19 pandemic, was

rejected, and she allegedly began to face “micromanaging” by Chen, Zhao, and Zhang. (See, e.g.

id. ¶ 235.)

        However, the allegations in the SAC show both that Plaintiff was aware of significant

information that would impact business decisions and elected to disregard this information and

push forward with her plan. Plaintiff cannot claim that the alleged rejection of her ill-fated and

poorly thought-out plan is the result of “gender animus,” when it is instead a result of her poor

performance. Further still, Plaintiff repeatedly received negative feedback on her work product

from her supervisors. (See e.g. id. ¶ 287 (Plaintiff is told that there is a lack of confidence in her

leadership)); (id. ¶ 346 (Plaintiff receives negative feedback about a presentation she prepared.))

Plaintiff’s poor performance led to the termination of her employment, and Plaintiff points to

absolutely nothing other than bare, conclusory statements in support of gender discrimination.

        Similarly, Plaintiff cannot claim that her poor performance reviews were discriminatory

when they were supported by her own poor performance. As an initial matter, courts in this

Circuit have long held that “a negative performance review . . . do[es] not ordinarily constitute

adverse action” for purposes of a discrimination claim. Mooney v. City of N.Y., No. 18-cv-328,

2018 WL 4356733, at *5 (S.D.N.Y. Sept. 12, 2018). Assuming arguendo Plaintiff’s negative

performance reviews constitute an adverse action, her subjective belief that her performance was




                                                 14
      Case 1:24-cv-00944-DLC           Document 89       Filed 09/30/24      Page 25 of 45




satisfactory is insufficient to form the basis of a discrimination claim. For example, Plaintiff

claims that she began to receive poor performance reviews after her transition to lead the GBM

team. In this new position, Plaintiff had a new and different supervisor who may impose

different standards and assessment of her work performance. See Orisek v. Am. Inst, of

Aeronautics and Astronautics, 938 F. Supp. 185, 191 (S.D.N.Y. 1996) (“A new manager is

allowed to appraise an employee’s work according to his or her own expectations, even if those

expectations are contrary to a prior manager's expectations.”); Pergament v. Fed. Express Corp.,

No. 2:03-cv-1106, 2007 WL 1016993, at *12 (E.D.N.Y. Mar. 30, 2007) (“fact that [plaintiff] had

received generally positive evaluations from her previous ... supervisor” did not support finding

of pretext in defendant's decision to terminate plaintiff based new supervisor's negative

assessments).

       While she was still employed as a Managing Director and the U.S. Head of Business

Marketing, Plaintiff was clearly better able to handle the role and responsibility of that position.

According to the SAC, Plaintiff’s March 2020 review was “excellent” with her reviewers having

“great things to say.” (SAC ¶ 162.) Indeed, it appears that her March 2020 review does highlight

the contributions Plaintiff made in her role, with one reviewer going as far as to claim: “I could

not have imagined the change Katie would bring to our team in the short amount of time she has

joined as our leader,” with other reviewers similarly expressing great feedback. (Id.) Further,

Plaintiff again claims to have received great performance reviews – a review that does not appear

to encompass much of her time in her new position - in her August 2020 performance review.

(Id. ¶ 180.) In sum, according to the SAC, when Plaintiff was performing well, she received

positive feedback. The evidence shows that when Plaintiff’s performance warranted positive

feedback, positive feedback is what she received. However, when her performance began to




                                                15
        Case 1:24-cv-00944-DLC              Document 89          Filed 09/30/24        Page 26 of 45




suffer, Plaintiff elected to disregard the feedback she received, and did not attempt to adjust her

performance, accordingly, leading to negative reviews. See Missick v. City of New York, 707 F.

Supp. 2d 336, 350 (E.D.N.Y. March 22, 2010) (“The mere fact of past satisfactory performance,

followed by negative feedback, is not suggestive of impermissible animus.”).

        Plaintiff cannot now turn around and claim that her subsequent performance reviews

were the result of discrimination. For example, despite allegations that she received a

“discriminatorily middling performance rating,” (SAC ¶ 246), Plaintiff provides no evidence to

support the claim that her performance review was anything other than the result of her actual

performance. Plaintiff instead takes issue with the amount of reviewers solicited to provide her

review, (id. ¶ 248), and mischaracterizes the reviews that she receives as “[a]rtificially

depressed,” when in fact her “solid” rating of an M was, at that time, an accurate reflection of

Plaintiff’s employment.8 Grant v. N.Y. Times Co., No. 16-cv-03175, 2017 WL 4119279, at *6-7

(S.D.N.Y. Sept. 14, 2017) (granting motion to dismiss gender discrimination claims when “the

inference that [the plaintiff’s] performance review . . . [was] . . . motivated by a discriminatory

animus against [the plaintiff] because she is a woman is weak.”).

        Further, Plaintiff lists some of the “gender” comments she alleges were made during the

course of her employment. For example, Plaintiff claims she was told that she was “demanding,

defensive, and a perfectionist to a fault,” which she claims evidence gender discrimination. (SAC

¶ 250.) She further claims that she was told she was “emotional” in her leadership style. (Id. ¶

252.) However, none of the comments Plaintiff identifies are sufficient to establish a claim of

gender discrimination. See Sank v. City Univ. of New York, 10-cv-4975, 2011 WL 5120668, at

    8
       To the extent Plaintiff argues that her “M” rating was an adverse employment action, she cannot do so. See
Wilson v. New York, No. 17-cv-5012, 2021 WL 2987134, at *6 (E.D.N.Y. July 15, 2021) aff'd in part, vacated in
part, remanded, No. 21-1971-CV, 2022 WL 17587564 (2d Cir. Dec. 13, 2022) (“Though a negative performance
evaluation can constitute an adverse employment action in the retaliation context, a performance evaluation that
provides an overall rating of "meets expectations" is ordinarily not an adverse employment action.”).



                                                       16
      Case 1:24-cv-00944-DLC           Document 89        Filed 09/30/24      Page 27 of 45




*1, 9 (S.D.N.Y. Oct. 28, 2011) (dismissing plaintiff’s gender discrimination claim because “[t]he

Complaint does not, for instance, allege that any specific decision-maker at [defendant] made

comments to or about [plaintiff] from which discriminatory animus based on gender could

reasonably be inferred.”). At most, these comments constitute the type of stray remarks that are

simply not actionable pursuant to the law. LaSalle v. City of N.Y., No. 13-cv-5109, 2015 WL

1442376, at *15 (S.D.N.Y. Mar. 30, 2015) (“Stray remarks by non-decision-makers or by

decision-makers unrelated to the decision process are rarely given great weight, particularly if

they were made temporally remote from the date of [the] decision.”).

        Plaintiff also fails to identify any viable comparators outside the protective group that she

claims were treated better than she was. See Ndremizara v. Swiss Re Am. Holding Corp., 93 F.

Supp. 3d 301, 316 (S.D.N.Y. 2015) (dismissing complaint because plaintiff “provide[d] no

details” about the alleged employees who were “less qualified” than him); Marcus v. Leviton

Mfg. Co., No. 15-cv-656, 2016 WL 74415, at *3 (E.D.N.Y. Jan. 6, 2016) (dismissing case

because plaintiff did not factually show “how” the plaintiff and alleged comparator were

“similarly situated”); Morales v. New York, No. 05-cv-5006, 2010 WL 11623479, at *10-11

(E.D.N.Y. Aug. 30, 2010) (dismissing gender discrimination claim because “[a]part from the

vague and unsubstantiated claims by plaintiff herself, the record does not provide any support for

the conclusion that male” comparators received any preferential treatment); Durden v. Metro

Transit. Auth., No. 17-cv-5558, 2018 WL 3360757, at *3-4 (S.D.N.Y. July 10, 2018) (dismissing

sexual harassment claim where plaintiff failed to bring forth any comparator evidence and there

are no allegations that defendant investigated into alleged misconduct of the opposite sex any

differently).




                                                 17
      Case 1:24-cv-00944-DLC          Document 89        Filed 09/30/24     Page 28 of 45




       Plaintiff simply does not allege the requisite factual detail for her claims to cross from

possible to plausible. Indeed, several critical allegations are offered “upon information and

belief.” (See, e.g., SAC ¶ 41 (alleging Plaintiff was chastised for asking about compensation

when men were not similarly reprimanded, and alleging without support men did not face

chastisement for reporting their team successes.)) It is well-settled that a “plaintiff may plead

facts upon information and belief only in limited circumstances.” May Flower Int'l, Inc. v.

Tristar Food Wholesale Co. Inc., No. 21-cv-02891, 2022 WL 4539577, at *4-5 (E.D.N.Y. Sept.

28, 2022). Further, “statements made upon information and belief must be supported by some

factual allegations making them plausible.” Id.; see also Citizens United v. Schneiderman, 882

F.3d 374, 384 (2d Cir. 2018) (“A litigant cannot merely plop 'upon information and belief' in

front of a conclusory allegation and thereby render it non-conclusory.”). Here, Plaintiff makes

several critical allegations upon information and belief without sufficient supporting factual

allegations.

       Ultimately, Plaintiff cannot “allege that the employer took adverse action against her at

least in part for a discriminatory reason,” as she fails to allege “facts that directly show

discrimination or facts that indirectly show discrimination by giving rise to a plausible inference

of discrimination.” Styles v. Westchester Cty., No. 18-cv-12021, 2020 WL 1166404, at *8

(S.D.N.Y. Mar. 10, 2020) (emphasis added) (internal quotation and citation omitted).

               2.     Plaintiff’s Gender Discrimination Claims pursuant to the NYSHRL
                      and the NYCHRL Must Be Dismissed.

       To establish a gender-discrimination claim under the NYCHRL, “the plaintiff need only

demonstrate . . . that she has been treated less well than other employees because of her gender.”

Mihalik v. Credit Agricole Cheuvreux N. Am., Inc., 715 F.3d 102, 110 (2d Cir. 2013) (internal

quotation marks omitted). “[T]he NYCHRL is not a general civility code and a defendant is not



                                                18
        Case 1:24-cv-00944-DLC            Document 89         Filed 09/30/24        Page 29 of 45




liable if the plaintiff fails to prove the conduct is caused at least in part by discriminatory or

retaliatory motives.” Leizerovici v. HASC Ctr. Inc., No. 17-cv-3605, 2018 WL 1114703, at *11-

12 (E.D.N.Y. Feb. 27, 2018). The NYSHRL’s 2019 amendments made the standard for

sustaining claims under the NYSHRL “closer to the standard” under the NYCHRL. See Wellner

v. Montefiore Med. Ctr., No. 17-cv-3479, 2019 WL 4081898, at *5 n.4 (S.D.N.Y. Aug. 29,

2019).

         Here, Plaintiff cannot establish a gender discrimination claim pursuant to either the

NYSHRL or the NYCHRL, even given the relaxed standards of these claims.9 Ward v. Cohen

Media Publ’ns LLC, No. 22-cv-06431, 2023 WL 5353342, at *15 (S.D.N.Y. Aug. 21,

2023) (original brackets and citation omitted) (“even under the more lenient requirements of the

NYCHRL, [a] plaintiff's claims must be more than conclusory or speculative to survive a motion

to dismiss.”). Plaintiff makes several allegations of miscellaneous workplace grievances – but

crucially, as discussed above, fails to assert factual allegations sufficient to show that any of the

alleged harassment is due to her gender or any other protected status and fails to show that she

was treated well less than a comparator.

         Plaintiff will not be able to demonstrate that she was treated less well as the result of her

gender, given her documented performance failures and repeated decisions to disregard

substantive feedback. Johnson v. Andy Frain Services, Inc., No. 12-cv-4454, 2014 WL

2805113, at *3 (E.D.N.Y. June 20, 2014) (dismissing plaintiff’s gender discrimination claims

under Title VII, NYSHRL, and NYCHRL because “[e]ven construed liberally, [p]laintiff’s

    9
       Given the amendments to the NYSHRL in 2019, “[t]he question is how much closer the NYSHRL and
NYCHRL standards now are. The case law . . . has yet to definitively resolve whether the NYSHRL's liability
standard is now coextensive with that of the NYCHRL, or whether it requires more, so as to impose a standard
between federal and city law. . . .That said, New York courts have implied that the standards for employment-
discrimination claims under the NYSHRL and the NYCHRL are now largely the same.” Mitchell v. Planned
Parenthood of Greater N.Y., Inc., No. 1:23-cv-01932, 2024 WL 3849192, at *21-22 (S.D.N.Y. Aug. 16, 2024)
(internal citation and quotations omitted).



                                                     19
      Case 1:24-cv-00944-DLC           Document 89       Filed 09/30/24     Page 30 of 45




Second Amended Complaint does not provide any indication of how [d]efendant’s alleged acts

were connected to [plaintiff’s] … gender.”). Crucially, Plaintiff fails to identify how any of her

alleged poor treatment, such as her performance reviews, bad feedback, and ultimate

employment termination are connected to her gender. Plaintiff here has simply failed to allege

that the conduct at issue was caused by a discriminatory motive. Mihalik, 715 F.3d at 110. She

has, thus, failed to show that she “has been treated less well at least in part because of her

gender.” Id. (internal quotations omitted).

       Defendants also incorporate the arguments and analyses regarding the sexual harassment

claims as laid out in their motion to compel arbitration. (ECF No. 82.) In short, Plaintiff cannot

plausibly allege that her claims of sexual harassment at Cannes constitute gender discrimination,

given the allegations are entirely focused on an event occurring out of the country, at a dinner

sponsored by another corporate entity, where the alleged bad actor is an employee of that entity

and not of Defendants, and did not include conduct that was sexual in nature. See King v.

Aramark Servs. Inc., 96 F.4th 546, 556-57 (2d Cir. 2024) (affirming the dismissal of NYSHRL

claims when the underlying allegedly discriminatory conduct occurred outside of New York

even when Plaintiff worked remotely in New York); Henry v. Rising Ground, No. 153458/2021,

2022 WL 2158368, at *8 (N.Y. Sup. Ct. Jun. 10, 2022) (guest of vendor was neither an employee

nor agent of the employer, thus, the employer could not be held liable under the NYCHRL);

Leroy v. Delta Air Lines, No. 21-267-cv, 2022 WL 12144507, at *3 (2d Cir. Oct. 27, 2022)

(Summary Order) (plaintiff failed to allege that defendant’s negligence permitted or facilitated

the non-employees discriminatory conduct); see also Shkoza v. Nyc Health & Hospitals Corp.,

No. 20-cv-3646, 2024 WL 1116145, at *7 (S.D.N.Y. Mar. 13, 2024) (noting that “[c]ourts have

thus found isolated incidents of . . . physical conduct to be the type of petty slights and trivial




                                                20
      Case 1:24-cv-00944-DLC          Document 89       Filed 09/30/24      Page 31 of 45




inconveniences that do not establish a NYCHRL claim”) (internal citations and quotations

omitted).

       As Plaintiff is unable to demonstrate that she was treated less well because of her gender,

Plaintiff’s NYSHRL and NYCHRL claim must fail.

       D.      Plaintiff’s Hostile Work Environment Claims Must Be Dismissed.

               1.     Plaintiff’s Hostile Work Environment Claim pursuant to Title VII
                      Must Fail.

       A hostile work environment claim under Title VII requires a plaintiff to demonstrate that

“the workplace is permeated with discriminatory intimidation, ridicule, and insult that is

sufficiently severe or pervasive to alter the conditions of the victim’s employment and create an

abusive working environment.” Littlejohn v. City of New York, 795 F.3d 297, 320-21 (2d Cir.

2015) (citing Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993)). To prove the hostile work

environment’s existence, the Second Circuit requires a plaintiff to demonstrate “objective and

subjective elements: the misconduct shown must be severe or pervasive enough to create an

objectively hostile or abusive work environment, and the victim must also subjectively perceive

that environment to be abusive.” Meckler v. Cornell Univ., No. 23-cv-773, 2024 WL 3535488, at

*8 (N.D.N.Y. July 25, 2024) (internal citation omitted). In conducting this analysis, the Second

Circuit considers: “(1) the frequency of the discriminatory conduct; (2) its severity; (3) whether

the conduct was physically threatening or humiliating, or a ‘mere offensive utterance;’ and (4)

whether the conduct unreasonably interfered with the plaintiff’s work.” Daeisadeghi v. Equinox

Great Neck, Inc., 794 Fed. Appx. 61, 64 (2d Cir. 2019). A plaintiff cannot prevail where they

merely provide “non-conclusory factual allegations.” Meckler, 2024 WL 3535488, at *8-9.

       Here, Plaintiff makes no claims of alleged discriminatory conduct in the time between

July 27, 2022 and the termination of her employment in September 2022. Accordingly, the only



                                               21
         Case 1:24-cv-00944-DLC               Document 89           Filed 09/30/24         Page 32 of 45




actionable claim in support of a hostile work environment is the termination of Plaintiff’s

employment.10 It is clear that a single, discrete act is not the type of severe or pervasive conduct

contemplated here, and accordingly, Plaintiff simply cannot sustain a hostile work environment

claim pursuant to Title VII. Ekpe v. City of N.Y., No. 20-cv-9143, 2024 WL 1621207, at *5-6

(S.D.N.Y. Apr. 12, 2024) (noting that discrete allegations of discrimination do not rise to an

“objectively severe and pervasive level,” and dismissing Title VII hostile work environment

claim).

                  2.       Plaintiff’s Hostile Work Environment Claims Pursuant to the
                           NYSHRL and NYCHRL Must Fail.

          Plaintiff cannot make out a hostile work environment claim pursuant to either the post-

2019 NYSHRL or the NYCHRL. As an initial matter, “The NYCHRL does not differentiate

between discrimination and hostile work environment claims; rather, both are governed by

N.Y.C. Admin. Code § 8-107(1).” Weekes v. Jetblue Airways Corp., No. 21-cv-1965, 2022 WL

4291371, at *12 (E.D.N.Y. Sept. 16, 2022); see Nguedi v. Fed. Reserve Bank of N.Y., 813 F.

App’x 616, 617-18 (2d Cir. 2020) (noting when courts review “discriminatory treatment or

hostile work environment claims under the NYCHRL, they must analyze whether a plaintiff is

treated 'less well' because of a discriminatory intent.”). Accordingly, Defendants rely on the

above NYSHRL and NYCHRL gender discrimination analysis in demonstrating that Plaintiff


    10
       The incident in Cannes is time-barred conduct for the purposes of a Title VII gender discrimination claim.
However, even assuming arguendo that this conduct is not time-barred, Plaintiff cannot plausibly assert that
nonsexual touching of one’s arm constitutes the type of severe or pervasive conduct that is actionable under Title
VII. Several courts have dismissed cases even where plaintiffs allege physical touching. See, e.g., Quinn v. Green
Tree Credit Corp., 159 F.3d 759, 768 (2d Cir. 1998), abrogated in part on other grounds by Nat'l R.R. Passenger
Corp. v. Morgan, 536 U.S. 101 (2002) (two alleged incidents involving an explicit sexual remark and inappropriate,
deliberate touching did not establish a hostile work environment). The conduct alleged here does not rise to the level
of sexual harassment under Title VII. See Pitter v. Target Corp., No. 1:20-cv-00183, 2020 WL 8474858, at *8
(N.D.N.Y. Sept. 1, 2020); Wessinger v. OSI Rest. Partner's LLC, No. 5:14-cv-00175, 2014 WL 5168702, at *8
(N.D.N.Y. Oct. 14, 2014) (holding allegations that a supervisor gave plaintiff a back and shoulder rub twice failed to
plausibly suggest sexual harassment severe or pervasive enough to alter the conditions of her employment and create
an abusive working environment).



                                                         22
      Case 1:24-cv-00944-DLC            Document 89         Filed 09/30/24      Page 33 of 45




has not and cannot demonstrate that she has been subject to any inferior treatment on the basis of

any protected category.

        Defendants also incorporate the arguments and analyses regarding the sexual harassment

claims as laid out in their motion to compel arbitration. (ECF No. 82.) In short, Plaintiff cannot

plausibly allege that her claims of sexual harassment at Cannes constitute gender discrimination,

given the allegations are entirely focused on an event occurring out of the country, at a dinner

sponsored by another corporate entity, where the alleged bad actor is an employee of that entity

and not of Defendants. See King, 96 F.4th at 556-57 (affirming the dismissal of NYSHRL claims

when the underlying allegedly discriminatory conduct occurred outside of New York even when

Plaintiff worked remotely in New York); Henry, 2022 WL 2158368, at *8 (guest of vendor was

neither an employee nor agent of the employer, thus, the employer could not be held liable under

the NYCHRL); Leroy, 2022 WL 12144507, at *3 (plaintiff failed to allege that defendant’s

negligence permitted or facilitated the non-employees discriminatory conduct).

        E.      Plaintiff’s Title VII Age Discrimination Claim Fails.

        Plaintiff’s claims of age discrimination under Title VII must be dismissed because Title

VII does not include age as a protected characteristic. 42 U.S.C. § 1981, et seq. (“because of

such individual's race, color, religion, sex, or national origin”). Thus, to the extent that Plaintiff’s

age claims pursuant to Title VII must be dismissed as a matter of law. See Napolitano v.

Teachers Coll., 19-cv-09515, 2021 WL 4443143, at *3 (S.D.N.Y. Sept. 28, 2021) (“Plaintiff’s

claim as plead here is fundamentally incognizable as a matter of law. Title VII does not cover

age-based discrimination.”).

        F.      Plaintiff’s Disability Discrimination Claims Under NYCHRL and
                NYSHRL Must Be Dismissed.

        Plaintiff’s disability discrimination claims pursuant to the NYSHRL and NYCHRL must



                                                  23
      Case 1:24-cv-00944-DLC           Document 89        Filed 09/30/24      Page 34 of 45




fail as well, for two crucial reasons – first, Plaintiff fails to put forth any allegations regarding

any purported disability, and second, given that failure, she cannot claim any adverse action she

experienced in the workplace is related to a disability she did not have.

       “An employee alleging disability discrimination under the NYSHRL or the NYCHRL

must show that (1) the defendant is a covered employer; (2) the plaintiff suffered from, or was

regarded as suffering from, a disability within the meaning of the statute; (3) the plaintiff was

qualified to perform the essential functions of the job, with or without a reasonable

accommodation; and (4) she suffered an adverse employment action because of her disability or

perceived disability.” Luzunaris v. Baly Cleaning Servs., No. 23-cv-11137, 2024 WL 3926708,

at *15 (S.D.N.Y. July 29, 2024). The NYCHRL “provides even greater protection against

disability-based discrimination[, however].” Crawford v. Bronx Cmty. Coll., No. 22-cv-1062,

2024 WL 3898361, at *11 (S.D.N.Y. Aug. 21, 2024). “To survive a motion to dismiss NYSHRL

and NYCHRL disability discrimination claims, a plaintiff must allege facts showing that her

employer took adverse action against her, and that the action was taken because of her disability

or perceived disability.” Shankar v. Accenture LLP, No. 21-cv-3045, 2023 WL 2908660, at *4

(S.D.N.Y. Feb. 14, 2023).

       Under the NYSHRL, the term “disability” is defined as an impairment, “which, upon the

provision of reasonable accommodations, do[es] not prevent the complainant from performing in

a reasonable manner the activities involved in the job or occupation sought or held.” Executive

Law § 292(21). The NYCHRL requires that a plaintiff plead facts showing a “physical, medical,

mental or psychological impairment, or a history or record of such impairment.” N.Y.C. Admin.

Code § 8-102.

       Plaintiff cannot establish a prima facie case of disability discrimination as the SAC fails




                                                 24
         Case 1:24-cv-00944-DLC              Document 89           Filed 09/30/24         Page 35 of 45




entirely to allege that Plaintiff had a qualifying disability, or that Plaintiff experienced any

adverse action because of her alleged disability. Plaintiff has provided no details about any such

ailments, provided no information about a diagnosis, or how her medical condition impacted her

employment. She does not even allege that her ailments are disabilities under either the

NYSHRL or the NYCHRL. Zuckerman v. GW Acquisition LLC, No. 20-cv-8742, 2021 WL

4267815, at *22-23 (S.D.N.Y. Sept. 19, 2021) (when alleging disability discrimination under the

NYSHRL and NYCHRL on a motion to dismiss, plaintiff must allege they “suffer[] from or is

regarded as suffering from a disability within the meaning of the [applicable] statute”) (citing

Caskey v. Country of Ontario, 560 F. App’x 57,58 (2d Cir. 2014)) (brackets omitted).

         Plaintiff claims that she “she developed significant physical, mental and emotional

medical conditions,” that her health “deteriorat[ed],” and that she underwent several medical

procedures during her employment. (SAC ¶ 282.) However, it appears that when Plaintiff

expressed, in vague terms, how she felt unwell, the SAC confirms that “Ms. Barney assured Ms.

Puris that she could take time off.”11 (Id. ¶ 284.) At most, Plaintiff claims to have “looked into”

taking medical leave, but ultimately it appears she declined to pursue her leave option. (Id. ¶

344.)

         Further, while Plaintiff claims that she “met with her doctor 26 times over seven months,

which led to numerous surgical procedures and other treatment,” she fails to identify any alleged

condition to clearly determine how or why it impacts her employment. See Cornetta v. Town of

Highlands, 434 F. Supp. 3d 171, 186 (S.D.N.Y. 2020) (noting that just because an injury “may

have required surgery, that does not mean that it qualified as a disability.”).

         Here, Plaintiff fails to “allege facts showing that her employer took adverse action against
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      While Plaintiff does not make a failure to accommodate claim, she puts forth no allegations that, despite what
appear to be repeated conversations with HR, she applied for, requested, or otherwise expressed a need for an
accommodation.



                                                        25
      Case 1:24-cv-00944-DLC           Document 89        Filed 09/30/24    Page 36 of 45




her, and that the action was taken because of her disability or perceived disability,” given that

she fails to allege that she has a disability or that the employer perceived her as having a

disability. Shankar, 2023 WL 2908660, at *4. Plaintiff certainly fails to show a causal

connection between any disability or perceived disability discrimination and any adverse actions,

such as her termination. Id. Accordingly, Plaintiff’s disability discrimination claims must be

dismissed.

         G.     Plaintiff’s Retaliation Claims Fail.

                1.     Plaintiff’s Title VII Retaliation Claims Fail

         To survive a motion to dismiss Title VII retaliation claims, Plaintiff must plausibly

allege: “(1) defendants discriminated—or took an adverse employment action—against [her], (2)

because [s]he has opposed any unlawful employment practice.” Anderson v. City of New York,

712 F. Supp. 3d 412, 428 (S.D.N.Y. Jan 17, 2024); Leizerovici, 2018 WL 1114703, at *8.

Plaintiff cannot prevail where they do not “establish a plausible nexus between the adverse

employment actions and her protected activity.” Anderson, 712 F. Supp. 3d at 428, (citing

Dechberry v. New York City Fire Dep’t, 124 F.Supp. 3d 131, 154 (E.D.N.Y. 2015)). In other

words, Plaintiff must show that the employment action “disadvantaged” her. Raimondo v. Erie 2-

Chautauqua-Cattaraugus BOCES, No. 22-cv-721s, 2023 WL 4624749, at *7 (W.D.N.Y. July 19,

2023).

         Plaintiff raised a complaint to Wendy Jimenez about her performance review in “late

April 2022,” alleging that her poor performance review “has to do with her age and health

status.” (SAC ¶ 366.) This claim was investigated, and on May 20, 2022, Plaintiff was informed

that an internal investigation found no wrongdoing. For purposes of Title VII, this claim is time-

barred and cannot be considered as the basis of a retaliation claim. See Freud v. N.Y.C. Dep't of




                                                 26
      Case 1:24-cv-00944-DLC            Document 89        Filed 09/30/24      Page 37 of 45




Educ., No. 22-879, 2023 WL 3103588, at *1 (2d Cir. Apr. 27, 2023) (affirming dismissal of

time-barred Title VII retaliation claim).

       Next, Plaintiff, on June 22, 2022, complained about alleged sexual harassment as

described in detail in Defendants BDI, BDL, and TTI’s Motion to Compel Arbitration, and her

related complaint regarding the same on September 23, 2022. However, this too is insufficient to

state a claim for retaliation, pursuant to Title VII. Here, Plaintiff lodged a complaint that she

experienced sexual harassment while at an event sponsored by Zenith Worldwide, at the hands of

an employee who did not work for any Defendants, in a foreign country. Within a span of a day,

Plaintiff was informed that Lee, the alleged harasser, would not attend an event hosted by

TikTok on or around June 23, 2022. (SAC ¶¶ 411-12.) Then, on July 8, 2022, Plaintiff was

informed that Zenith had been asked to ensure that her alleged harasser, Lee, did not participate

in future “TikTok meetings or business,” and then was informed on July 29, 2022, that Lee was

“being removed from supporting the TikTok account.” (Id. ¶ 421.)

       When Plaintiff made her initial claim of sexual harassment, Defendants responded,

investigated, and ultimately decided to act by ensuring that the alleged harasser was “removed

from supporting the TikTok account.” (Id.) Plaintiff faced no alleged retaliatory conduct or

discrimination after making this complaint, and in fact, received the full support of Defendants in

light of this serious allegation. Thus, Plaintiff’s claims fail because she does not demonstrate any

adverse action taken against her for lodging this complaint, as required by Title VII. Hahn v.

Bank of Am. Inc., No. 2014 WL 1285421, at *24 (S.D.N.Y. 2014) (Plaintiff . . . was not

dissuaded from making additional complaints . . . after suffering the alleged harassment. While

not dispositive, as the standard is objective, this itself suggests that the conduct of which Plaintiff

complains did not rise to the level of material adverse action."); Tepperwien v. Entergy Nuclear,




                                                  27
      Case 1:24-cv-00944-DLC         Document 89       Filed 09/30/24     Page 38 of 45




663 F.3d 556, 572 (2d Cir. 2011) (affirming dismissal of retaliation claims where plaintiff was

not deterred from complaining, as he made multiple complaints); Brand v. New Rochelle City

Sch. Dist., No. 19-cv-7263, 2022 WL 671077, at *12 (S.D.N.Y. May 7, 2022) (excluding

plaintiff from meetings would not dissuade a reasonable employee from making a complaint).

       Finally, Plaintiff claims that on September 23, 2022, she “expressed concerns about the

treatment of women at TikTok, age discrimination, the sexual harassment at Cannes, Lion and

the overall work environment” and was terminated shortly thereafter. (SAC ¶ 423.) Plaintiff,

however, will not be able to connect the termination of her employment with her protected

activity, given her well documented performance deficiencies herein. Plaintiff is apparently

determined to disregard her consistently poor performance and professional failures, and pin the

termination of her employment on her protected activity, when there is no evidence in support of

this claim.

              2.      Plaintiff’s NYCHRL & NYSHRL Retaliation Claims Fail.

       Before 2019, retaliation claims under Title VII and the NYSHRL were generally

evaluated under the same standard. Banks v. GM, LLC, 81 F.4th 242, 275 (2d Cir. 2023); see

Mwantuali v. Hamilton Coll., No. 6:22-cv-1395, 2024 WL 1219752, at * 19 (N.D.N.Y. Mar. 20,

2024). “While New York courts have not yet produced any substantive analysis of how this

amendment changes standards of liability under the NYSHRL, courts in this District have

interpreted the amendment as rendering the standard for claims closer to the [broader] standard

of the New York City Human Rights Law.” Kaye v. N.Y.C. Health & Hosps. Corp., No. 18-cv-

12137, 2023 WL 2745556, at *17 (S.D.N.Y. Mar. 31, 2023).

       Despite the lower standards for a retaliation claim under the NYCHRL, “the plaintiff

must show that she took an action opposing her employer’s discrimination, and that, as a result,

the employer engaged in conduct that was reasonably likely to deter a person from engaging in


                                              28
      Case 1:24-cv-00944-DLC           Document 89        Filed 09/30/24      Page 39 of 45




such action.” Leroy, 2022 WL 12144507, at *2 (quoting Mihalik, 715 F.3d at 112); see

Scalercio-Isenberg v. Morgan Stanley Servs. Grp., No. 19-cv-6034, 2019 WL 6916099, at *6-7

(S.D.NY. Dec. 19, 2019). The employer’s conduct must at least in part be caused by

discriminatory or retaliatory motives. Scalercio-Isenberg, 2019 WL 6916099, at *6-7 (citing

Mihalik, 715 F.3d at 113 (internal citations omitted)). Although the NYCHRL is “slightly more

solicitous of retaliation claims” than the standard articulated above, to survive a motion to

dismiss the plaintiff must plead facts giving rise to an inference of a causal connection between

the plaintiff's protected activity and an adverse employment action. Brightman v. Physician

Affliate Grp. of N.Y., P.C., No. 20-cv-4290, 2021 WL 1999466, at *28-29 (S.D.N.Y. May 19,

2021).

         Plaintiff’s April 2022 complaint cannot be the basis of her retaliation claim pursuant to

either the NYSHRL or the NYCHRL. Plaintiff claims that as a result of her complaint, she was

“[cut] . . . out of creative sessions and other meetings relevant to her role.” (SAC ¶ 369.)

However, Plaintiff also claims that she was in the midst of transitioning to a new role to be

supervised by Mohammed, and that Mohammed became her supervisor “[i]n May or June 2022.”

(Id. ¶ 371.) Plaintiff was in a transitory phase of her career, and her attempts to claim she was the

victim of retaliation simply because she was transitioning to a new role, one she adopted after

she made her complaint, is ludicrous. Ndongo v. Bank of China Ltd., No. 22-cv-05896, 2023 WL

2215261, at *6-7 (S.D.N.Y. Feb. 24, 2023) (“[e]ven under the NYCHRL's relatively liberal

standard, petty slights or minor annoyances that often take place at work are not actionable

retaliation.”) (internal citations and quotations omitted); Parlato v. Town of E. Haven, No. 22-cv-

1094, 2023 WL 5206873, at *16 (D. Conn. Aug. 14, 2023) (leaving plaintiff out of the decision

making process does not constitute an adverse employment action); McCullough v. Xerox Corp.,




                                                 29
      Case 1:24-cv-00944-DLC          Document 89       Filed 09/30/24      Page 40 of 45




942 F. Supp. 2d 380, 387 (W.D.N.Y. 2013) (“being left out of meetings does not amount to an

adverse action, absent a showing that some additional negative consequences flowed from that

exclusion.”).

       Plaintiff’s sexual harassment complaint cannot be the basis of her retaliation claim under

either the NYSHRL or the NYCHRL. As mentioned above, there is no pleading of any adverse

action or any conduct that was reasonably likely to deter any future complaints. Defendants fully

investigated these complaints, and ultimately decided to act by ensuring that the alleged harasser

was “removed from supporting the TikTok account.” (SAC ¶ 421.)

       Finally, Plaintiff’s final September complaint cannot be connected to the termination of

her employment, given her well documented performance deficiencies here. Plaintiff is

apparently determined to disregard her consistently poor performance and professional failures,

and pin the termination of her employment on her protected activity, when there is no evidence

in support of this claim.

       H.       Plaintiff’s FMLA Interference Claims Fail

       Plaintiff’s FMLA interference claim fails because she never requested FMLA leave. To

successfully make out an FMLA interference claim, Plaintiff must establish “1) that she is an

eligible employee under the FMLA; 2) that the defendant is an employer as defined by the

FMLA; 3) that she was entitled to take leave under the FMLA; 4) that she gave notice to the

defendant of her intention to take leave; and 5) that she was denied benefits to which she was

entitled under the FMLA.” Graziadio v. Culinary Inst. Of Am., 817 F.3d 415, 424 (2d Cir. 2016).

       To request FMLA leave, “[a]n employee must provide the employer at least 30 days

advance notice before FMLA leave is to begin if the need for the leave is foreseeable” or, “[i]f

30 days notice is not practicable, such as because of a lack of knowledge of approximately when

leave will be required to begin, a change in circumstances, or a medical emergency, notice must


                                               30
      Case 1:24-cv-00944-DLC           Document 89        Filed 09/30/24      Page 41 of 45




be given as soon as practicable.” 29 C.F.R. § 825.302(a). While the employee does not need to

expressly assert rights under the FMLA, or mention the FMLA by name, the employee “must

clearly communicate the need for time off.” Lievre v. JRM Constr. Mgmt., LLC, No. 17-cv-4439,

2019 WL 4572777, at *14 (S.D.N.Y. Sept. 20, 2019). That is, Plaintiff must “objectively assert

her rights.” De Figueroa v. N.Y., 403 F. Supp. 3d 133, 155 (E.D.N.Y. 2019) (there is no FMLA

violation where plaintiff did not “objectively assert[] her rights under the FMLA”) (quoting

Reilly v. Revlon, Inc., 620 F. Supp. 2d 534, 535-36 (S.D.N.Y. 2009)). The critical question to

establishing this fourth element is “whether information imparted to the employer is sufficient to

reasonably apprise it of the employee's request to take time off for a serious health condition.”

Lievre, 2019 U.S. Dist. LEXIS 161449, at *35.

       First, despite her attempts to reframe the circumstances, Plaintiff never requested any

medical leave. While Plaintiff does not need to mention FMLA by name, she did not

“objectively assert her rights” such that her employer had notice of such request. De Figueroa,

403 F. Supp. 3d at 155 (E.D.N.Y. 2019) (there is no FMLA violation where plaintiff did not

“objectively assert[] her rights under the FMLA”) (internal citation omitted). Nowhere in the

SAC does Plaintiff allege she mentioned the FMLA by name, or any medical leave. Plaintiff

merely asserts that Defendants were aware of her condition, not that she was requesting time off.

Thus, Plaintiff cannot plausibly argue that she “objectively asserted her rights.” Id.

       Even if the employer was aware of the serious health condition, “the employee must

notify her employer that the specific absence at issue is due to that known chronic condition.”

Rivera v. Crowell & Moring L.L.P., No. 14-cv-2774, 2016 WL 796843, at *14 (S.D.N.Y. Feb.

18, 2016); see Amley v. Sumitomo Mitsui Banking Corp., No. 19-cv-3777, 2021 WL 4429784, at

*9 (S.D.N.Y. Sept. 27, 2021) (holding that defendant’s “general awareness of [p]laintiff's foot




                                                 31
      Case 1:24-cv-00944-DLC          Document 89       Filed 09/30/24      Page 42 of 45




problem did not relieve plaintiff of the obligation to advise [defendant] that he needed to take

FMLA leave because of his foot problem.”); see also Tsatsani v. Walmart, Inc., No. 19-cv-9063,

2020 WL 6688939, at *19 (S.D.N.Y Oct. 26, 2020) (holding that even where a plaintiff

“previously told her employer that she had a serious medical condition, the employer is not

required to presume that every and any subsequent illness or medical mishap is due to that

condition and therefore FMLA-eligible.”). Because Plaintiff never requested any leave, BDI

could not have known that Plaintiff was requesting an absence because of her purported medical

conditions.

       Second, even if Plaintiff told certain members of HR about seeing a doctor because of a

medical condition, Plaintiff does not allege what exactly these conditions are. Slaughter v. Am.

Bldg. Maintenance Co. of New York, 64 F. Supp. 2d 319, 325 (S.D.N.Y. 1999) (“[s]ufficient

information must be given to the employer… to provide reasonable notice that the employee

requests time off for a serious health condition”); Nally v. New York State, No. 10-cv-1186, 2013

WL 2384252, at *15 (N.D.N.Y. May 30, 2013) (holding that plaintiff did not assert they suffered

from a serious medical condition to put defendants on notice that plaintiff needed to take FMLA

leave). Plaintiff merely alleges that she told Jiminez and Barney that her “health was

significantly impacted.” (SAC ¶¶ 284, 344.)

       Merely informing an employer that they have a medical condition is insufficient, as an

“employer is not required to be clairvoyant.” Brown v. Pension Bds., 488 F. Supp. 2d 395, 409

(S.D.N.Y. 2007) (internal citations omitted). Plaintiff’s conclusory allegations cannot come close

the FMLA’s standard that the employee “provide sufficient information for an employer to

reasonably determine whether the FMLA may apply to the leave request.” 29 C.F.R. §

825.303(a)-(c); Tsatsani, 2020 WL 6688939, at *19; Milne v. Navigant Consulting, No. 09-cv-




                                               32
       Case 1:24-cv-00944-DLC          Document 89        Filed 09/30/24     Page 43 of 45




8964, 2010 U.S. Dist. LEXIS 115650, at *32-33 (Oct. 27, 2010) (holding that “courts in this

circuit have rightfully held that merely alleging a serious health condition, without specifying a

specific illness, does not adequately set forth the factual allegations necessary for an FMLA

claim.”) (internal quotations and citations omitted).

        Third, Plaintiff’s own belief that Defendants would not support her is without any merit.

Plaintiff notes in the SAC that various other employees on her own team took medical leave.

(SAC ¶ 344.) Plaintiff also admits that Barney suggested she “take time off.” (Id. ¶ 284.)

Moreover, Plaintiff does not allege that Defendants ever stated that Plaintiff could not take leave.

Plaintiff merely believing that she would not be supported cannot support an FMLA interference

claim. Kemp v. Regeneron Pharms., Inc., No. 23-cv-174, 2024 WL 4111789, at *4 (2d Cir. Sept.

9, 2024) (holding that plaintiff’s “own subjective speculation and views about [defendant’s]

intent are not admissible” on a FMLA interference claim). Thus, this claim must be dismissed in

its entirety.

        I.      Plaintiff’s NYCHRL Interference Claim Fails.

        Plaintiff fails to allege a cognizable claim of interference with protected rights under the

NYCHRL. The NYCHRL provides that “[i]t shall be an unlawful discriminatory practice for any

person to… interfere with… any person in the exercise or enjoyment of… any right granted or

protected pursuant to this section. NYCHRL § 8-107(19). For a violation of this statute, a

required element is a “threat.” Cadet v. All. Nursing Staffing of N.Y., Inc., 632 F. Supp. 3d 202,

236 (S.D.N.Y. 2022). A “threat” is the “creation of [a]n impending injury. Id. (internal

quotations and citations omitted). Although the threat does not need to be physical, there must be

“some affirmative threat beyond the adverse employment action itself.” Id.; see Rossbach v.

Montefiore Med. Ctr., No. 19-cv-5758, 2021 WL 930710, at *8 (S.D.N.Y. Mar. 11, 2021)

(requiring "affirmatively coercive, intimidating, or threatening" actions). District courts in the


                                                 33
      Case 1:24-cv-00944-DLC           Document 89         Filed 09/30/24      Page 44 of 45




Second Circuit have been hesitant to construe this as “coterminous or duplicative of the

NYCHRL’s retaliation provisions.” Cadet, 632 F.Supp. 3d at 238.

       Throughout Plaintiff’s 108-page SAC, Plaintiff fails to identify any threats. Rosas v.

Balter Sales Co., No. 12-cv-6557, 2015 WL 12915807, at *38 (S.D.N.Y. Mar. 30, 2015)

(dismissing plaintiff’s claim because they did not “present any evidence of a threat, or even

alleged that a threat was made.”); Macias v. Barrier Free Living, Inc., No. 16-cv-1735, 2018 WL

1603566, at *9 (S.D.N.Y. Mar. 27, 2018) (holding that plaintiff’s claim must be dismissed where

they do not explain how their employer threatened their rights).

       The only remote possibility of a threat throughout the SAC is that Plaintiff’s employment

may be terminated if she did not fulfill her job duties. However, threats to terminate employment

are not a cognizable threat under this provision. Cadet, 632 F. Supp. 3d at 237; Palmer v.

eCapital Corp., No. 24-cv-15, 2024 WL 3794715, at *12 (S.D.N.Y. Aug. 13, 2024) (dismissing

plaintiff’s claim where there was “no threat beyond the adverse employment action itself”).

Further, Defendants did not attempt to coerce, intimidate, or threaten her to prevent her from

making any complaint about alleged discriminatory behavior. Rossbach, 2021 U.S. Dist. LEXIS

46012, at *23-24 (holding that ignoring harassment is not an affirmative threat). Thus, this claim

should be dismissed in its entirety.

       J.      The Court Should Decline to Exercise Supplemental Jurisdiction.

       Finally, given that Plaintiff’s Title VII, ADEA, and FMLA claims must be dismissed, for

the reasons laid out above, this Court should decline to exercise supplemental jurisdiction. A

district court “may decline to exercise supplemental jurisdiction over [state law claims] if . . . the

district court has dismissed all claims over which it has original jurisdiction.” 28 U.S.C. §

1367(c)(3). It is appropriate to do so here, given the lack of remaining federal claims, or lack of

indicia. Anderson v. Nat’l Grid, PLC, 93 F. Supp. 3d 120, 147 (E.D.N.Y. 2015) (“[i]n the interest


                                                 34
       Case 1:24-cv-00944-DLC        Document 89        Filed 09/30/24     Page 45 of 45




of comity, the Second Circuit instructs that ‘absent exceptional circumstances,’ where federal

claims can be disposed of pursuant to Rule 12(b)(6) or summary judgment grounds, courts

should ‘abstain from exercising pendent jurisdiction.’”); see Garcia v. Marc Tetro, Inc., No. 18-

cv-10391, 2020 WL 997481, at *4 (S.D.N.Y. Mar. 2, 2020) (declining to exercise supplemental

jurisdiction when there were no remaining federal claims when doing so would “not promote the

values of judicial economy, convenience, fairness, and comity.”).

V.       CONCLUSION

         For the foregoing reasons, Defendants TTI, BDI, and BDL request that this Court

Dismiss Plaintiff’s claims for gender discrimination, retaliation, and hostile work environment

pursuant to Title VII, the NYSHRL, and NYCHRL; any age claims pursuant to Title VII and the

ADEA, disability discrimination pursuant to the NYSHRL and NYCHRL, interference with

protected rights pursuant to the NYCHRL, and interference pursuant to the FMLA.

Dated: September 30, 2024,                  SEYFARTH SHAW LLP


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